4:09-cr-03103-JMG-CRZ         Doc # 79     Filed: 03/17/10     Page 1 of 1 - Page ID # 278




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )              CASE NO. 4:09CR3103
                                              )
                     Plaintiff,               )
                                              )
              vs.                             )                    ORDER
                                              )
KELLEY LYNNE EWINGS,                          )
                                              )
                     Defendant.               )

       This matter is before the Court on the Defendant’s motion to continue sentencing

(Filing No. 76) and the Plaintiff’s motion to continue sentencing (Filing No. 77).

       The Defendant’s motion will be denied. The Court notes, however, that it intends

to apply the new crack cocaine ratio at sentencing. The Court also notes that, assuming

the Defendant is doing well on release, self surrender will be considered at the time of

sentencing. The Plaintiff’s motion will be granted.

       IT IS ORDERED:

       1.     Defendant’s motion to continue sentencing (Filing No. 76) is denied;

       2.     Plaintiff’s motion to continue sentencing (Filing No. 77) is granted; and

       3.     Counsel are directed to contact Ed Champion, (402) 661-7377, to reschedule

              the sentencing hearing.

       DATED this 17th day of March, 2010.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge
